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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

JANE DOE,

            Plaintiff,
                                          CIVIL ACTION FILE NUMBER:
v.
                                                 1:23-cv-05578
GEORGIA         DEPARTMENT          OF
CORRECTIONS; COMMISSIONER
TYRONE OLIVER, in his official
capacity;                  ASSISTANT
COMMISSIONER RANDY SAULS,
in his official capacity; STATEWIDE
MEDICAL DIRECTOR SHARON
LEWIS, in her official and individual
capacities; PHILLIPS STATE PRISON
WARDEN DESHAWN JONES, in his
official and individual capacities;
SERGEANT           JAMAL         KINTE
ROBERTS, in his individual capacity;
MHM CORRECTIONAL SERVICES,
INC., d.b.a. MHM SERVICES, INC.;
STATEWIDE MENTAL HEALTH
DIRECTOR CHAD I. LOHMAN, in
his official       capacity; PHILLIPS
STATE PRISON MENTAL HEALTH
DIRECTOR RHONDA BILLINGS, in
her official and individual capacities;
DR. SKIBINSKI, in her official and
individual capacities; DR. CLEARY, in
her     individual     capacity;   DR.
BOWLING, in his individual capacity;
NURSE PRACTITIONER SIDNEY
MOORE, in his individual capacity;
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 DR. W. AUSBORN, in his individual
 capacity; JEREMY LANE, in his
 individual capacity; WELLPATH LLC;
 PHILLIPS          STATE          PRISON
 MEDICAL DIRECTOR LATONYA
 JAMES, in her official and individual
 capacities; DR. ANTHONY MULLOY,
 in his official and individual capacities;
 WELLPATH HEALTH SERVICES
 ADMINISTRATOR              JEWELLANN
 CLARKE, in her official and individual
 capacities,

              Defendants.


                            SECOND STATUS REPORT


      COME NOW Wellpath, LLC, by and through its undersigned counsel, and

pursuant to the Court’s Order entered on April 17, 2024 (Dkt. 131), file this Second

Status Report, respectfully showing the Court as follows:

      Jane Doe was scheduled to have an appointment with a Plastics

Reconstructive Surgeon for an evaluation on May 2, 2024. Although the Gender

Dysphoria Committee was unable to meet on May 21, 2024, due to several members

being unavailable, there was a case discussion with regional medical directors and

individuals from the Gender Dysphoria Committee on May 9. During that

discussion, it was recommended that a cardiology consultation be scheduled for Jane
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Doe to see if Jane Doe will be able to tolerate post operative hormones therapy. A

consultation is being sought currently.

      Defendant Wellpath, LLC, will again update this Court in the next 30 days as

ordered on April 17, 2024.

      Respectfully submitted, this 24th day of May, 2024.

                                          Hall Booth Smith, PC


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                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1 (D), the undersigned hereby certifies that the foregoing

document has been prepared in Times New Roman 14, a font and type selection

approved by the Northern District of Georgia in LR 5.1(B) and LR 5.1(C).

      This 24th day of May, 2024.

                                         Hall Booth Smith, PC


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       Case 1:23-cv-05578-MLB Document 142 Filed 05/24/24 Page 5 of 7




                        CERTIFICATE OF SERVICE
      I hereby certify that I have this day served a true and correct copy of the

foregoing SECOND STATUS REPORT upon all parties to this matter via the

CM/ECF system which will automatically send electronic notifications to the

following:

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      This 24th day of May, 2024.

                                          Hall Booth Smith, PC


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